                   EXHIBIT B



MOTION FOR PERMISSION TO
  COMMENCE LIMITED
       DISCOVERY




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                                   STATE OF TENNESSEE
     IN THE GENERAL SESSIONS COURT OF DAVIDSON COUNTY, TENNESSEE
                                      COURTROOM 1A


STEVEN ERICH HUBBARD,
                                                           CaseNo.:21GC6958
       Plaintiff,

       Vs.

TRANSUNION, LLC,

       Defendant.



        MOTION FOR PERMISSION TO COMMENCE LIMITED DISCOVERY

       NOW COMES the Plaintiff, Steven Erich Hubbard, In Pro Per, and pursuant to Tenn.
Code. Ann. 24-9-102, hereby moves the Honorable Court for an Order allowing Interrogatories
to be served upon the Defendant, Transunion, LLC. In Support of the Motion, Plaintiff avers as
follows below:



   1. Plaintiff, Steven Erich Hubbard, commenced the following civil action by filing a civil
       warrant in the General Sessions Court ofDavidson County, Tennessee against
       Transunion, LLC. The cause of action against Transunion, LLC is for violation of the
      U.S. Fair Credit Reporting Act ("FCRA"), 15 U.S.C. 1681e, by failing to ensure the
       maximum possible accuracy of the Plaintiffs consumer report at Transunion, LLC.


   2. Defendant failed to update one of the Plaintiffs bankruptcy cases status(s) as being either
       being: (1) voluntarily dismissed; or (2) closed after dismissing bankruptcy case no.: 20-
       11519-NWW. Accordingly, Plaintiff disputed the erroneous information from the




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        Plaintiffs credit report. However, Defendant verified the information, and the open
        bankruptcy remains in Plaintiffs credit report.



    3. Plaintiff requests the Honorable Court to allow the Plaintiff to serve upon Defendant 10
        (ten) written interrogatories. These interrogatories will allow the Plaintiff to determine
       various aspects of the Defendant's liability, procedures in handling the Plaintiffs credit
        dispute, and determination of damages based upon the evidence to be uncovered under
       the written interrogatories.




   4. Plaintiff avers the requirements ofTenn. Code. Ann. 24-9-102(1) have been met in the
       case. Both good cause and exceptional circumstances require the usage of discovery
       under Tennessee Rules of Civil Procedure 26-37. Plaintiff requests a narrow scope of
       discovery, namely written interrogatories, to be served upon Defendant. This narrow
       discovery will allow the Honorable Court at trial to better understand the Plaintiffs case
       and causation, liability, and resulting damages from the Defendant's misconduct as
       reveled in the discovery.




WHEREFORE, Plaintiff, Steven Erich Hubbard, In Pro Per, prays that the Honorable Court
allow the Plaintiff to enter a discovery order, as required by Tenn. Code. Ann. 24-9-102, in the
amount of 10 (ten) written interrogatories to Defendant and be required to answer as required by
the rules of civil procedure.


                                                                            Respectfully Submitted,




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                                                                           Steven Erich Hubbard
                                                                   478 North Chancery Street
                                                                     McMmnville,TN37110
                                                                        Tel:(931)570-0784
                                                       E-mail: StevenHubbardTN(atemail.com


                                    Certificate of Service

On Thursday, June 3rd, 2021, Steven Erich Hubbard ("Mr. Hubbard'), hereby certifies, under
penalty of perjury, I mailed a copy of the Motion for Permission to Commence Limited
Discovery on the Defendant, Transunion, LLC at the address listed below:
                                      Transunion, LLC
                     ATTN: The Prentence-Hall Corporation System, Inc.
                                    2908 Poston Avenue
                                    Nashville, TN 37203

                                                                      Respectfully Submitted,
                                                        ^^^\-(/ A^
                                                                           Steven Erich Hubbard
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